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F/lED
IN THE UNITED STATES DISTRICT COURT BY"*'-`}D\ DC
FOR THE WESTERN DISTRICT OF TENNESSEE AUG

   
     

EASTERN DIVISION "3 P"" 2: 13
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UNITED sTArEs or AMERICA, r~“. “5 ;»:OULD
z:;rz-“ F*`TO;>LW

Plaintiff, "' " ' 1 "5{`,\ `
vs No. 04_10049T
EDDIE LEoNDRE DAVIDsoN,

Defendant.

ORDER CONTINUTNG TRlAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant, With no objection nom the government and for
good cause shown, the report date which is currently scheduled for August 10, 2005 , and the trial
date Which is currently scheduled for August 22, 2005 , are hereby continued The defendant
contends that additional time is needed to prepare for trial.

The court finds that defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends

of justice Will be served by granting a continuance in order to allow the defendant more time to

 

prepare for trial. Accordin l the trial is continued from Au st 22 2005 to October 24 2005
at 9:30 A.M. The resulting period ofdelay, from August 22, 2005, to October 24, 2005, is
excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).
A new report/motion date has been set for October 13, 2005, at 8:45 a.m.
IT IS SO ORDERED.
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JA S D. TODD
ED STATES DISTRICT JUDGE

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DATE U

Th\s document entered on the docket sh et in co‘?pjiance
with Hule 55 and!or 32(b) FRCrP on

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Honorable J ames Todd
US DISTRICT COURT

